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                                                                  ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                      DOC #:
SOUTHERN DISTRICT OF NEW YORK                                     DATE FILED: 11/6/2020
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 UNITED STATES OF AMERICA                                     :
                                                              : 19-CR-808 (VEC)
                 -against-                                    :
                                                              :     ORDER
 SALIFOU CONDE                                                :
                                                              :
                                                              :
                                          Defendant           :
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VALERIE CAPRONI, United States District Judge:

       WHEREAS on October 22, 2020 Mr. Mullin filed a motion to withdraw as Mr. Conde’s

attorney;

       IT IS HEREBY ORDERED that: The parties must appear for a video conference on

November 9, 2020 at 5:00 p.m. Links to appear via video will be sent directly to Mr. Mullin,

Mr. Conde, and to the AUSA.

       IT IS FURTHER ORDERED that Chambers will email a copy of this order directly to

Mr. Conde, who is warned that if he fails to appear for the video conference his bail may be

revoked.



SO ORDERED.
                                                    _________________________________
Date: November 6, 2020                                    VALERIE CAPRONI
      New York, NY                                      United States District Judge
